                     Case 2:10-cv-08888-CJB-JCW Document 66454 Filed 04/20/11 Page 1 of 3
                                         IN RE : OIL SPILL by "Deepwater Horizon"
                                               DIRECT FILING SHORT FORM1
                               Authorized by 0 der of the Court, Civil Action NO.1 0 md 2179 Rec. Doc. 982
                (Copies        of said Order ~aving also been filed in Civil Actions NO.1 0-8888 and 10-2771)
MDL2179                                                                 SECTION:    J                                               JUDGE CARL BARBIER

       CLAIM IN L1MITATION--J( INDER IN MASTER ANSWER-INTERVENTION  AND JOINDER
                IN MASTER CO MPLAINTS - PLAINTIFF/CLAIMANT PROFILE FORM
     By submitting this document, I a/1 asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
     al., No. 10-2771; adopt and incorp :>ratethe Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
     Asset Leasing Gmbh, et al., in No 10-2771; andlor intervene into, join and otherwise adopt the Master Complaint
     [Rec. Doc. 879] for private econo nic losses ("B1 Bundle") filed in MDL No. 2179 (10 md 2179); andlor intervene
     into, join and otherwise adopt th ~ Master Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundle")
     filed in MDL No. 2179 (10 md 2179.


     Last Name                                           First Name                                      Middle Name/Maiden                          Suffix
     Jenson                                              Robert                                          F

     Phone Number                                                                       E-Mail Address
     951-972-9493                                                                       calidiver808@hotmail.com
     Address                                                                            City / State / Zip
     39265 Via Curvado                                                                  Murrieta, CA 92563

     INDIVIDUALCLAIM                                                                    BUSINESSCLAIM
     Employer Name                                                                      Business Name
     Veolia ES
     Job Title / Description                                                            Type of Business
     Saturation Diver
     Address                                                                            Address
     149 Woodland Dr.
     City / State / Zip                                                                 City / State / Zip
     LaPlace, LA 70068
     Last 4 digits of your Social Security Numbe                                        Last 4 digits of your Tax ID Number
     5413

     Attorney Name                                                                      Firm Name
     PAUL STERBCOW                                                                      LEWIS, KULLMAN,        STERBCOW          & ABRAMSON
     Address                                                                            City / State / Zip
     601 POYDRAS ST., SUITE 2615                                                        NEW ORLEANS/LA/70130

     Phone Number                                                                       E-Mail Address
     504-588-1500                                                                       STERBCOW@LKSALAW.COM



     Claim filed with BP?            YES             NO       [gJ                       Claim Filed with GCCF?:           YES            NO ~

     If yes, BP Claim No.:                                                              If yes, Claimant Identification   No.:   In process of submitting

     Claim Type (Please check all that apply):
                   Damage or destruction to real 0 personal properly                               Fear of Future Injury and/or Medical Monitoring
               ~   Eamings/Profit Loss                                                             Loss of Subsistence use of Natural Resources
                   Personal Injury/Death                                                           Removal and/or clean-up costs
                                                                                                  Other:




1 This form   should be filed With the u.s. District ourt for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 10-8888. While this Direct Filing Short Form is o be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in
MDL 2179), the filing of this form in CA. No. 1O-88E8 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff liaison Counsel, after being
notified electronically by the Clerk of Court of the fili g of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense liaison.
                                                                                    1

         The filing of this Direct Filing Short      orm shall also serve in lieu of the requirement             of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description:

1.     For earnings/profit loss, prope y damage and loss of subsistence use claims, describe the nature of the injury. For claims
       involving real estate/property, i clude the property location, type of property (residential/commercial), and whether physical
       damage occurred. For claims r lating to fishing of any type, include the type and location of fishing grounds at issue.


       As a Commercial Diver se                                                       in the Gulf of Mexico        Plaintiff/Claimant

       has suffered and continue             to suffer severe economic losses as a direct result of the Defendants'

       actions that caused the oil spill.




 3.     For personal injury claims, desc ibe the injury, how and when it was sustained, and identify all health care providers and
        employers 2008 to present and omplete authorization forms for each.




 4.     For post-explosion claims relat d to clean-up or removal, include your role in the clean-up activities, the name of your
        employer, and where you were orking.




                                                                         2

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     0   1.   Commercial       fisherman, sh imper, crabber,           or oysterman,       or the owner and operator          of a business       involving     fishing,
               shrimping,     crabbing or oystrring.

     0   2.    Seafood processor,        distribu~or,   retail and seafood     market, or restaurant        owner and operator,        or an employee          thereof.

     0   3.    Recreational business own r, operator or worker, including a recreational fishing                          business,    commercial      guide service,      or
               charter fishing business wh earn their living through the use of the Gulf of Mexico.

    M. 4.      Commercial   business, bu iness owner, operator or worker, including commercial                               divers,   offshore     oilfield    service,
                repair and supply, real est te agents, and supply companies, or an employee thereof.

     0   5.    Recreational      sporl fisherm     n, recreational     diver, beachgoer,      or recreational    boater.

     0   6.    Plant and dock worker,         incl ding commercial        seafood   plant worker,       longshoreman,       or ferry operator.

     0   7.     Owner, lessor, or lessee 0 real property             alleged to be damaged,           harmed or impacted,      physically   or economically,          including
              lessees of oyster beds.

     o 8.      Hotel owner and operator,          acation rental owner and agent, or all those who earn their living from the tourism industry.

     o 9.      Bank, financial     institution,    r retail business     that suffered   losses as a result of the spill.

     o 10. Person who utilizes natur I resources for subsistence.
     o 11. Other:
  Post-Explosion Personallniurv.                  Medical Monitorina. and Property Damaae Related to Cleanup (Bundle B3)
     o 1.      Boat captain      or crew invol      d in the Vessels      of Opportunity      program.

     o 2.     Worker involved        in deconta     inating vessels that came into contact with oil and/or chemical                    dispersants.

     o 3.     Vessel captain or crew who was not involved in the Vessels of Opportunity                         program    but who were exposed to harmful
               chemicals, odors and emis ions during post-explosion clean-up activities.

     o 4.      Clean-up   worker or beach         ersonnel    involved    in clean-up    activities    along shorelines     and intercoastal      and intertidal zones.

     o 5.      Resident   who lives or work         in close proximity      to coastal waters.

     o 6.      Other:




Both BP and the Gulf Coast Claim Facility ("GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to su h information being treated as "Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial     rder No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applica e) filing this form and PSC through Plaintiff Liaison Counsel.




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    The filing of this Direct Filing Short          rm shall also serve in lieu of the requirement               of a Plaintiff to file a Plaintiff Profile Form.
